AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

District of Maryland

 

 

)
Bryce Carrasco
)
Plaintiffs)
"oy, Civil Action No.
) “> j ?
M&T Bank ) — J- CQv- SE
) ;
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address} M&T Bank
Resident Agent: CSC - Lawyers Incorporating Service Company
7 Saint Paul Street
Suite 820
Baltimore, MD 21202

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you recetved it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed, R. Civ.
P. 12 (a}(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Bryce Carrasco

334 Ternwing Drive

Arnold, MD 21012

EMAIL: bocarrasco47 @outiook.com
Phone: 410-858-7432

 

If vou fail to respond, judgment by default will be entered against vou for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk
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Crvil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

 

was received by me on (date)

1 I personally served the summons on the individual at (piace)

 

on (date) , or

 

C1 J left the summons at the individual's residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

7 1 served the summons on frame of individual) » who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

On (date) ; Or
(1 Lreturned the summons unexecuted because , or
7 Other (specify:
My fees are $ for travel and $ for services, for a total of $ 0.00

1 declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server ‘'s address

Additional information regarding attempted service, etc:
